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       Attorneys for Plaintiff
13     Moses Heredia
14
                            UNITED STATES DISTRICT COURT
15
                           CENTRAL DISTRICT OF CALIFORNIA
16

17                                 (EASTERN DIVISION)
18
       MOSES HEREDIA,                             Case No.: 5:20-cv-02618-JWH-KK
19
                    Plaintiff,
20
                                                  STATUS REPORT
21     vs.
22
       MTK GLOBAL SPORTS
23     MANAGEMENT, LLC; MTK GLOBAL
24     USA, LLC; GOLDEN BOY
       PROMOTIONS, INC.; PAUL D.
25     GIBSON; and DANIEL KINAHAN,
26
                    Defendants.
27

28
       STATUS REPORT - 1
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 1                  PLAINTIFF MOSES HEREDIA’S STATUS REPORT
 2
             PURSUANT TO the Court’s Order of March 31, 2023 (ECF 143), Plaintiff
 3

 4     Moses Heredia, by and through counsel, submits this Status Report. As all
 5
       Defendants in this action are currently in default by entry of the Clerk of Court, this
 6

 7
       Status Report cannot be a joint filing. 1

 8     POSTURE OF THE CASE
 9
             Plaintiff obtained an Entry of Default by Clerk pursuant to Fed. R. Civ. P.
10

11     55(a) against Defendant MTK Global USA, LLC on December 20, 2022. ECF 128.
12
       In his Status Report filed on January 6, 2023 (ECF 129), Plaintiff requested the Court
13

14
       permit discovery on damages in support of his pending Motion for Entry of Default

15     Judgment against Defendant MTK Global USA, LLC; the Court ordered discovery
16
       for this Motion in its Minutes Order on January 20, 2023 (ECF 132).
17

18           Plaintiff then obtained an Entry of Default by Clerk against Defendants MTK
19
       Global Sports Management, LLC and Daniel Kinahan on May 11, 2023 (ECF 148),
20

21
       and against Defendant Paul D. Gibson on June 29, 2023 (ECF 156). On May 31,

22     2023, Plaintiff filed his Notice of Motion, Motion, and Incorporated Memorandum
23
       for Entry of Default Judgment as to Defendants MTK Global USA, LLC (ECF 150),
24

25

26
             1
27
               On September 6, 2022, the Court entered an Order dismissing without
       prejudice Plaintiff’s claims against Golden Boy Promotions, Inc. ECF 116
28
       STATUS REPORT - 2
     Case 5:20-cv-02618-JWH-KK Document 161 Filed 08/16/23 Page 3 of 5 Page ID #:2066



 1     MTK Global Sports Management, LLC (ECF 151), and Daniel Kinahan (ECF 152).
 2
       On August 4, 2023, Plaintiff filed his Notice of Motion, Motion, and Incorporated
 3

 4     Memorandum for Entry of Default Judgment as to Defendant Paul D. Gibson. ECF
 5
       159. Plaintiff’s Motions request default judgment against all Defendants as to the
 6

 7
       issue of liability and an Order authorizing Plaintiff to conduct discovery under Fed.

 8     R. Civ. P. 55(b) on the issue of damages.2
 9
             Plaintiff’s Motions against Defendants MTK Global USA, LLC (ECF 150),
10

11     MTK Global Sports Management, LLC (ECF 151), and Daniel Kinahan (ECF 152)
12
       were previously set for hearing on June 30, 2023. ECF 150. On June 27, 2023, the
13

14
       Court issued an Order in which the Court found Plaintiff’s Motions were appropriate

15     for resolution without a hearing and vacated the June 30, 2023 setting. ECF 154.
16
       Plaintiff’s Motions against Defendants MTK Global USA, LLC (ECF 150), MTK
17

18     Global Sports Management, LLC (ECF 151), and Daniel Kinahan (ECF 152)
19
       currently stand submitted on the papers timely filed. ECF 154. Plaintiff’s Motion
20

21
       against Defendant Paul D. Gibson (ECF 159) is currently set for hearing at the

22     August 25, 2023 Status Conference. ECF 159, 160.
23

24
       2
        The Motion for Default Judgment against MTK Global USA, LLC requests this
25
       Court "[c]ontinue in effect the previous Order authorizing Plaintiff to conduct
26     necessary discovery to develop the facts necessary for the Court to make a
27
       meaningful assessment of damages for a final award of damages, litigation costs,
       and attorney fees.”
28
       STATUS REPORT - 3
     Case 5:20-cv-02618-JWH-KK Document 161 Filed 08/16/23 Page 4 of 5 Page ID #:2067



 1     PLAINTIFF’S EFFORTS TO ASSESS DAMAGES AGAINST DEFENDANT
 2     MTK GLOBAL USA, LLC, AND IN ANTICIPATION OF ORDER
       AUTHORIZING DISCOVERY ON THE ISSUE OF DAMAGES AGAINST
 3
       THE REMAINING DEFENDANTS
 4
             From August 6-13, 2023, Plaintiff’s counsel traveled to various witness
 5

 6     locations and collected relevant information to assist Plaintiff with anticipated
 7
       discovery efforts in this action. Plaintiff has secured the cooperation of individuals
 8

 9     with relevant information and has hired an investigator to assist with obtaining
10
       additional information relevant to Plaintiff’s damages. If authorized by the Court,
11
       Plaintiff intends to serve subpoenas for documents and depositions to key entities
12

13     and persons whom Plaintiff has identified as having evidence relevant to Plaintiff’s
14
       damages.
15

16     Dated: August 16, 2023
17
                                              Respectfully submitted,
18
                                              FEDERAL PRACTICE GROUP
19

20                                            /s/ Rajan O. Dhungana
21
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       STATUS REPORT - 4
     Case 5:20-cv-02618-JWH-KK Document 161 Filed 08/16/23 Page 5 of 5 Page ID #:2068



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 2                                        emontalvo@fedpractice.com
 3
                                          Attorneys for Plaintiff
 4                                        Moses Heredia
 5
                                     ATTESTATION
 6

 7
            Pursuant to Local Rule 5-4.3.4(a)(2)(i), the undersigned attests that
       Defendants MTK Global Sports Management, LLC, MTK Global USA, LLC, Paul
 8     D. Gibson, and Daniel Kinahan are currently in default for failure to appear.
 9     Accordingly, no consent to this filing by any other party is possible.
10
                                          /s/ Rajan O. Dhungana
11                                        Rajan O. Dhungana
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       STATUS REPORT - 5
